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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION



JUSTIN MORROW,

                  Petitioner,

v.                                                                  Case No.: 8:10-cv-00620-T-24-TGW
                                                                              8:08-cr-00399-T-24-TGW

UNITED STATES OF AMERICA,

            Respondent.
___________________________________/


                                                   ORDER

         This cause is before the Court upon Petitioner’s motion to vacate, set aside, or correct an

allegedly illegal sentence pursuant to 28 U.S.C. § 2255. (Civ. Doc.1; Cr. Doc. 117). Because the

motion is not in substantially the form annexed to the Rules Governing Section 2255 motions,

the motion is deficient and must be amended. Rule 2(c), Rules Governing Section 2255

Motions.1

         Accordingly, the Court orders:

         1. That Petitioner’s motion to vacate is DENIED without prejudice to his filing, on or

before April 19, 2010, a 28 U.S.C. § 2255 motion that complies with the instructions on the

form. Specifically, Petitioner must state each ground for relief on the form, and must



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      Local Rule 3.01(a) also requires that “In making any written motion or other application to the Court for the
entry of an order of any kind, in civil and criminal cases (other than those made in criminal cases at Omnibus
Hearings), the moving party shall file and serve with such motion or application a brief or legal memorandum with
citation of authorities in support of the relief requested.”

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complete the “Supporting FACTS” section for each ground on the form. Petitioner must

state the supporting facts briefly and must not simply write, “See attached.” This case

number should be written on the form. The word, “Amended” should be written at the top of

the first page of the form.

        The amended motion to vacate must include all of Petitioner’s grounds for relief; it

should not refer to the original motion. All grounds for relief must be contained in the motion to

vacate. The Court will not consider grounds for relief raised in a memorandum of law that are

not set out on the motion to vacate form. After completing the new form, Petitioner should mail

it to the Court.

        Petitioner’s failure to file the amended motion to vacate within the allotted time will

result in the dismissal of this action, without further notice, and without prejudice, for

Petitioner’s failure to prosecute under Rule 3.10, Local Rules, United States District Court,

Middle District of Florida.

        The Clerk is directed to send Petitioner the necessary form to comply with this order.

        ORDERED in Tampa, Florida, on March 17, 2010.




Copies to:
Counsel of Record

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